Case 2:21-cr-00059-SPC-MRM Document 2 Filed 06/17/21 Page 1 of 3 PagelD 3
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 22) JUS 17 PH 2:94

FORTMYERS DIVISION
UNITED STATES OF AMERICA RES ay the ges
vy. CASE NO. 2:21-cr-54-¢f¢-
21 U.S.C. § 841(a)(1) MM

GERALD MICHAEL ABRAHAM
INFORMATION
The United States Attorney charges:
COUNT ONE
On or about December 18, 2019, in the Middle District of Florida, the
defendant,
GERALD MICHAEL ABRAHAM,
did knowingly and intentionally dispense a controlled substance not for a legitimate
medical purpose and outside the usual course of professional practice, which
violation involved a mixture and substance containing a detectable amount of
oxycodone, a Schedule II controlled substance, and amphetamine, a Schedule II
controlled substance.
In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C).
COUNT TWO
On or about March 9, 2020, in the Middle District of Florida, the defendant,
GERALD MICHAEL ABRAHAM,
did knowingly and intentionally dispense a controlled substance not for a legitimate

medical purpose and outside the usual course of professional practice, which
Case 2:21-cr-00059-SPC-MRM Document 2 Filed 06/17/21 Page 2 of 3 PagelD 4

violation involved a mixture and substance containing a detectable amount of
oxycodone, a Schedule II controlled substance, and amphetamine, a Schedule II
controlled substance.

In violation of 21 U.S.C. § 841(a)(1) and 841(6)(1)(C).

COUNT THREE
On or about May 4, 2020, in the Middle District of Florida, the defendant,
GERALD MICHAEL ABRAHAM,
did knowingly and intentionally dispense a controlled substance not for a legitimate
medical purpose and outside the usual course of professional practice, which
violation involved a mixture and substance containing a detectable amount of
oxycodone, a Schedule II controlled substance.
In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C).
FORFEITURE

1. The allegations contained in Counts One through Three are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 21 U.S.C. § 853.

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the defendants
shall forfeit to the United States, pursuant to 21 U.S.C. §§ 853(a)(1) and (2), any
property constituting, or derived from, any proceeds the defendant obtained, directly
or indirectly, as a result of such violation, and any property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, such

violation.
Case 2:21-cr-00059-SPC-MRM Document 2 Filed 06/17/21 Page 3 of 3 PagelD 5

3. The property to be forfeited includes, but is not limited to, the
following: any proceeds of the offenses.
4, If any of the property described above, as a result of any acts or
omissions of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

es has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e: has been commingled with other property, which cannot be

divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p).

KARIN HOPPMAJ}N

Acting United St ney

   

By:

 

Michael V. Leeman
Assistant United States Attorney

By
(ites M. Casas
ssistant United States Attorney

Chief, Fort Myers Division
